                  Case: 1:21-cv-06932 Document #: 34 Filed: 06/09/23 Page 1 of 1 PageID #:7361
                           SEVENTH
                       Case:  23-2125 CIRCUIT TRANSCRIPT
                                        Document:  3          INFORMATION
                                                            Filed: 06/12/2023 SHEET
                                                                                 Pages: 1
 PART I – M ust be com pleted by party or party’s attorney pursuant to Rule 10(b) of the Federal R ules of Appellate Procedure and
 R ule 11(a) of the C ircuit R ules. T he appellant m ust file this form with the court reporter within 14 days of filing the notice of appeal,
 whether transcript is being ordered or not. (FR AP 10(b)(1)) Satisfactory arrangem ents with the court reporter for paym ent of the
 costs of the transcripts m ust also be m ade at that tim e. (F R AP 10(b)(4)) (N ote: Appellees as well as appellants are expected to
 use this form when ordering transcripts.)

 Short Title                                                              District                                D.C. Docket No.
                                                                         Northern District of Illinois        21-cv-06932
 Kustok v. Mitchell
                                                                          District Judge                          Court Reporter
                                                                         Hon. Matthew Kennelly                Carolyn Cox
        I am ordering transcript.
                                           No argument or                 Sign below and return original and one copy to court reporter.
  ✔     I am not ordering transcript because:
                                           evidentiary                    D istribute rem aining copies to the C lerk of the District C ourt
                                           proceedings took               and opposing party, retaining one copy for yourself.
        T he transcript has been prepared. place

 Indicate proceedings for which transcript is required. Dates m ust be provided:                                              D ate(s)

           Pretrial proceedings. Specify:

           Voir D ire

 T rial or H earing. Specify:

           O pening statem ent

           Instruction conference

           C losing statem ents

           C ourt instructions

           Post-trial proceedings. Specify:

           Sentencing

           O ther proceedings. Specify:



 M ethod of P aym ent:           C ash                               C heck or M oney O rder                          C .J.A. Voucher
 Status of P aym ent:            Full Paym ent                       Partial Paym ent                                 N o Paym ent Yet

 Signature:          s/ Karl Leonard                                                                  T elephone N o. 773-595-5641
 Address:            Exoneration Project
                     311 N. Aberdeen St., 3rd Floor, Chicago, IL 60607
                    _________________________________________________________                               6-9-2023
                                                                                                      Date: __________________________


 PAR T II – M ust be com pleted by C ourt R eporter pursuant to Rule 11(b) of the F ederal R ules of A ppellate P rocedure. By signing
 this Part II, the C ourt R eporter certifies that satisfactory arrangem ents for paym ent have been m ade.

 U.S.C.A. Docket No.                     Date Order Received              Estimated Completion Date               Estimated Length




                                    s/
 Signature of C ourt R eporter:                                                                          D ate:

 N O T IC E: T he Judicial C onference of the United States, by its resolution of M arch 11, 1 98 2, has provided that a penalty of 10
 percent m ust apply, unless a waiver is granted by the C ou rt of Appeals’ C lerk , when a “transcript of a case on appeal is not
 delivered within 30 days of the date ordered and paym ent received therefor.” T he penalty is 20 percent for transcript not delivered
 within 60 days.
O riginal to C ourt R eporter. C opies to:      U .S.C .A. C lerk   Service Copy     District Court Clerk and to        Party / Counsel
O rdering T ranscript.
